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                                                               STATE OF NEW YORK
                                                      OFFICE OF THE ATTORNEY GENERAL
LETITIA JAMES                                                                                                    REGIONAL OFFICE DIVISION
Attorney General                                                                                                 NASSAU REGIONAL OFFICE


                                                                             February 13, 2023

          Honorable Joan M. Azrack
          United States District Court
          Eastern District of New York
          100 Federal Plaza
          Central Islip, New York 11722

                                                                             Re:      Samantha Ednie v. State University
                                                                                      of New York, et al.
                                                                                      23-cv-0473 (JMA/ST)

          Dear Judge Azrack:

                  I represent Defendants, State University of New York and Stony Brook University
          (collectively “SBU”), in the above-captioned matter, and write to inform the Court that this
          action is immediately voluntarily dismissed, by the attached stipulation of all parties, pursuant to
          FRCP Rule 41(a)(1)(A)(ii). I request that Your Honor “so order” the stipulation if Your Honor
          deems it appropriate. This stipulation has immediate effect and this action is voluntarily
          dismissed in any event.

                    Thank you for your consideration.



                                                                                      Very truly yours,

                                                                                      /s/ Richard Yorke
                                                                                      Richard Hunter Yorke
                                                                                      Assistant Attorney General

          cc:       Counsel for Plaintiff by ECF




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